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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF PUERTO RICO

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


I, Kevin J. Rodriguez Olan, being duly sworn, do hereby depose and state the following:
       1.      I am a Border Patrol Agent with the United States Border Patrol and have been
so employed since July 07, 2010. As a Border Patrol Agent, I have gained experience in
conducting investigations related to the illegal entry of aliens into the United States. I attended
the Federal Law Enforcement Training Center in Artesia, New Mexico, where I received
training for the purpose of performing my duties as a Border Patrol, which includes training in
immigration related law and matters. In addition, receive continuing education to maintain
my skills related to Border Patrol work.
       2.      The investigation reveals that, on Thursday, January 2, 2025, MIGUEL
YSIDRO POLANCO-SUERO attempted to illegally re-enter the United States at or near
Cabo Rojo, Puerto Rico.        Therefore, this affidavit is made in support of a Criminal
Complaint against POLANCO-SUERO based on violation of Title 8, United States Code,
Section 1326 (a) & (b)(2), attempting to re-enter the United States after having been
previously removed following a conviction of an aggravated felony.
       3.      I am making this affidavit based on my own personal knowledge and the oral
and written reports of other federal, state, and/or local law enforcement officials and agents
who have investigated this matter. This affidavit does not contain all the information
derived from this investigation, but only that which is sufficient to establish probable cause
to believe that a crime has been committed.
                                     PROBABLE CAUSE
       4.      On January 2, 2025, at approximately 9:30 PM (AST), U.S. Coast Guard
(USCG) Sector San Juan reported that a vessel was intercepted by USCG Cutter Hernandez
approximately 21 nautical miles (NM) West of Cabo Rojo, Puerto Rico, with 43 subjects
aboard.
       5.      All subjects were safely transferred to USCG cutter, for safety of lives at sea
(SOLAS). Upon transfer to USCG, all subjects claimed to be undocumented migrants from
Dominican Republic and Haiti.

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       6.      At the USCG Cutter, the fingerprints of all subjects were entered into the
biometrics system. Subsequent biometric verifications indicated that POLANCO-SUERO had
a history of both prior immigration and criminal activity.
       7.      On January 04, 2025, at approximately 12:15 p.m., POLANCO-SUERO was
arrested at the Mayagüez Port of Entry in Mayagüez, Puerto Rico and subsequently transported
to the Ramey Border Patrol Station for further investigation, processing, and removal
proceedings.
       8.      As     to   POLANCO-SUERO’s            immigration       and   criminal   history:


                    a) On March 29, 2016, POLANCO-SUERO was encountered by
                       Immigration and Customs Enforcement (ICE) officers at York County
                       Prison in Pennsylvania. The subject, identified as POLANCO-
                       SUERO, was serving a 25-month sentence for Possession with Intent
                       to Distribute Controlled Substances.
                    b) On February 14, 2017, an Immigration Judge ordered the removal of
                       POLANCO-SUERO.
                    c) On March 21, 2017, POLANCO-SUERO was officially removed
                       from the United States to Dominican Republic.
       9.      On Thursday, January 2, 2025, POLANCO-SUERO re-entered the United
States at a place other than a designated Port of Entry.
       10.     POLANCO-SUERO does not have any immigration documents allowing
him to enter and/or remain in the United States legally, to include but not limited, the lack
of express consent from the Attorney General of the United States, or his successor, the
Secretary of the Department of Homeland Security, to reapply for admission into the United
States. Furthermore, POLANCO-SUERO was not inspected, admitted or paroled into the
United States by an Officer of the Bureau of Customs and Border Protection.
       11.     POLANCO-SUERO does not have any petitions pending with the Bureau of
Citizenship and Immigration Services.
       12.     On January 2, 2025, Border Patrol Agents advised POLANCO-Suero of his
right to speak with the Consul of his native country, the Dominican Republic, to which he
declined.

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       13.     Based upon my training, experience, and participation in other investigations,
and based on the facts revealed in this investigation, as well as the facts revealed in this
investigation, I conclude that there is sufficient probable cause to demonstrate the
commission of a violation of federal law by the aforementioned subject., to wit, a violation
of for Title 8, United States Code, Section 1326 (a) & (b)(2).




                                                     ____________________________________
                                                     Kevin J. Rodriguez Olan
                                                     Border Patrol Agent

                                                       2:15 p.m. by telephone, this _____
Subscribed and Sworn before me pursuant to FRCP 4.1 at _______                      6th

day of January 2025.




                                             _____________________________________
                                             Bruce J. McGiverin
                                             UNITED STATES MAGISTRATE JUDGE
                                             DISTRICT OF PUERTO RICO




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